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                 IN THE UNITED STATES DISTRICT COURT FOR
                    THE SOUTHERN DISTRICT OF GEORGIA 1: J           !)
                            SAVANNAH DIVISION                       '    FYI 2
                                                         C]- , f-                00
ANTHONY     LEE BUTLER,              )

        Plaintiff,

V.                                          CASE NOS. CV410-139
                                                      CR4 08-315
UNITED STATES OF AMERICA,

        Defendant.


                                ORDER

        Before the Court is the Magistrate Judge's report and

recommendation (Doc. 2) , to which no objections have been

filed. After a careful de novo review of the record, the

report and recommendation is ADOPTED as the Courts opinion

in- this case.       Accordingly, the 28 U.S.C. § 2255 Petition

is DISMISSED WITHOUT PREJUDICE.             The Clerk of Court is

DIRECTED to close this case.
                               VIZ
        SO ORDERED this /J day of July 2010.




                               WILLIAM T. MOORE, JR.
                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF GEORGIA
